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 4                                                                       Hon. David G. Estudillo
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 7                            UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
     TOMMY BROWN, on their own behalf and
 9   on behalf of other similarly situated persons,
                                                         No. 2:20-cv-00680-DGE
10                   Plaintiff,
                                                         DECLARATION REQUESTING
11            vs.                                        JUDICIAL NOTICE
12   TRANSWORLD SYSTEMS, INC.,
     PATENAUDE & FELIX, APC; U.S. BANK,
13   NA. NATIONAL COLLEGIATE STUDENT
     LOAN TRUST 2004-1, NATIONAL
14   COLLEGIATE STUDENT LOAN TRUST
     2004-2, NATIONAL COLLEGIATE
15   STUDENT LOAN TRUST 2005-1,
     NATIONAL COLLEGIATE STUDENT
16   LOAN TRUST 2005-2, NATIONAL
     COLLEGIATE STUDENT LOAN TRUST
17   2005-3, NATIONAL COLLEGIATE
     STUDENT LOAN TRUST 2006-1,
18   NATIONAL COLLEGIATE STUDENT
     LOAN TRUST 2006-2, NATIONAL
19   COLLEGIATE STUDENT LOAN TRUST
     2007-1, and NATIONAL COLLEGIATE
20   STUDENT LOAN TRUST 2007-2,
21                   Defendants.
22

23            Marc Rosenberg states and declares as follows:

24            1.     I am an attorney for defendant Patenaude & Felix, APC. I am competent to

25   testify, and do so from personal knowledge.

     DECLARATION REQUESTING JUDICIAL NOTICE - 1
     2:20-cv-00680-DGE
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              2.     Pursuant to Fed.R.Evid. 201, I request that this Court take judicial notice of the
 2
     attached documents, which are on file with King County Superior Court in the underlying
 3
     lawsuit National Collegiate Student Loan Trust 2007-2 v. Brown, King County Superior Court
 4
     cause no. 19-2-09402-8-KNT.
 5
              3.     The attached exhibits are true and correct copies of the originals.
 6
                     Exhibit 1.     Affidavit of Bradley Luke
 7
                     Exhibit 2.     Order on Summary Judgment
 8
              I declare under the penalty of perjury under the laws of the State of Washington that the
 9
     foregoing is true and correct to the best of my knowledge.
10
              DATED this 1st day of March, 2022.
11
                                                    LEE SMART, P.S., INC.
12
                                                    By: s/ Marc Rosenberg_____________________
13                                                     Marc Rosenberg, WSBA No. 31034
                                                       Of Attorneys for Defendant
14                                                     Patenaude & Felix, APC
15                                                     1800 One Convention Place
                                                       701 Pike Street
16                                                     Seattle, WA 98101-3929
                                                       (206) 624-7990
17                                                     mr@leesmart.com
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     DECLARATION REQUESTING JUDICIAL NOTICE - 2
     2:20-cv-00680-DGE
     6940818.doc
 1                                    CERTIFICATE OF SERVICE
 2            I hereby certify that on the date provided at the signature below, I electronically filed
 3   the preceding document with the Clerk of the Court using the CM/ECF system, which will send
 4   notification of such filing to the following individual(s):
 5
              Christina Henry               chenry@hdm-legal.com
 6            Phillip Robinson              phillip@marylandconsumer.com
 7            Scott C. Borison              scott@borisonfirm.com
              Bradley St. Angelo            bstangelo@session.legal
 8
              Bryan C. Shartle              bshartle@sessions.legal
 9            Justin Homes                  jhomes@sessions.legal
10            Emily Harris                  eharris@corrcronin.com
              Benjamin C. Byers             bbyers@corrcronin.com
11            Albert J. Rota                ajrota@jonesday.com
12            Kristine E. Kruger            kkruger@perkinscoie.com
              Thomas N. Abbott              tabbott@perkinscoie.com
13

14            I certify under penalty of perjury under the laws of the United States of America that the
15   foregoing is true and correct to the best of my knowledge.
16            Respectfully submitted this 1st day of March, 2022.
17
                                                    LEE SMART, P.S., INC.
18
                                                    By: s/ Marc Rosenberg_____________________
19                                                     Marc Rosenberg, WSBA No. 31034
                                                       Of Attorneys for Defendant
20                                                     Patenaude & Felix, APC

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     DECLARATION REQUESTING JUDICIAL NOTICE - 3
     2:20-cv-00680-DGE
     6940818.doc
